Case 1:22-cr-00166-BAH Document 200 Filed 02/05/24 Page1of1

CO 109A - Rey. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS FI LED

FOR THE DISTRICT OF COLUMBIA LEB UD 2024
UNITED STATES OF AMERICA Oa. 1 rretal oe
)
vs. Civil/Criminal No.:___22CR166 (BAH)
JOHN GEORGE TODD III

NOTE FROM JURY

Defahun of Cunt 2 mates (efeverce 40 0Ficed

N.w. essenhal to the cunt, bat the vedicr form

Spec Res impeding certain. officers ov Employees.
(We +0 Consider the evidente ot NR?

oY oll officers 7? Does his apply jo Tadd ‘

conduct ty ll roHicers or just OW cee Rathbun

